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                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION


ATLANTIC RECORDING
CORPORATION, LAFACE
RECORDS LLC, SONY MUSIC
ENTERTAINMENT, UMG
RECORDINGS, INC., WARNER
BROS. RECORDS INC., ARISTA                     Civil Action No.
MUSIC, ARISTA RECORDS LLC,                     1:17-CV-00431-AT
BAD BOY RECORDS LLC,
CAPITOL RECORDS, LLC,
ELEKTRA ENTERTAINMENT
GROUP INC., ROC-A-FELLA
RECORDS, LLC, SONY MUSIC
ENTERTAINMENT US LATIN LLC,
ZOMBA RECORDING LLC,

      Plaintiffs,

      v.

SPINRILLA, LLC and JEFFERY
DYLAN COPELAND,

      Defendants.


           ORDER GRANTING JOINT MOTION TO AMEND
                 SCHEDULING ORDER

     Upon review of the Joint Motion to Amend Scheduling Order [Doc. 164]

submitted by the parties in the above-captioned matter, it is GRANTED.
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The Scheduling Order entered in this case on October 11, 2017, Dkt. 113, is hereby

amended as follows:

      • Rebuttal expert reports to be exchanged on January 22, 2018.

      • Expert discovery period to conclude on February 15, 2018.

      • All potentially dispositive motions to be filed on or before March 5, 2018.

      IT IS SO ORDERED this 4th day of January, 2018.

                                                  _____________________
                                                  Amy Totenberg
                                                  United States District Judge




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